Case 0-Uo-/424/-ateé DOCcCLl Filed Vo/QO/Qo Entered Va/Q0/06 OS!09'706

B 1 (Official Form 1) (1/08)

United States Bankruptcy Court
Eastern District of New York

Name of Debtor (if individual, enter Last, First, Middle): Name of Joint Debtor (Spouse) (Last, First, Middle);

Muraskin, Seth,

AlJl Other Names used by the Debtor in the last 8 years
(include married, maiden, and trade names);

All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):

Last four digits of Soc. Sec. or Indvidual-Taxpayer 1.D, (TIN) No./Complete EIN(if
more than one, state all): 4264

Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. {(ITIN) No./Complete EIN(if more
than one, state all}:

Street Address of Debtor (Ne. & Street, City, and State): Street Address of Joint Debtor (No. & Street, City, and State):

2 William Street

Setauket, New York
ZIP CODE 11733 | ZIP CODE
County of Residence or of the Principal Place of Business: County of Residence or of the Principal Place of Business:
Suffolk

Mailing Address of Debtor (if different from street address): Mailing Address of Joint Debtor (if different from street address):

ZIP CODE ZIP CODE
[Location of Principal Assets of Business Debtor (if different from street address above):
| ZIP CODE
Type of Debtor Nature of Business Chapter of Bankraptcy Code Under Which
(Fonn of Organization) (Check one box) the Petition is Filed (Check one box)
(Check one box.) LJ Health Care Business
: YJ Chapter 7 ( Chapter 15 Petition for
GJ Individual (includes Joint Debtors} [) Single Asset Real Estate as defined in Cl] Chapter 9 Recognition of a Foreign
See Exhibit D on page 2 af this form. 11 U.S.C. § 101(51B) Main Proceeding
san i Chapter 11
O Corporation (includes LLC and LLP) Q) Railroad a P () Chapter 15 Petition for
(] Partnership Q) Stockbroker SJ) Chapter 12 Recognition of a Foreign
(Other (If debtor is not one of the above entities, Q Commodity Broker Cl chapter 13 Nonmain Proceeding
check this box and state type of entity below.) () Clearing Bank p
O Other Nature of Debts
(Check one box)
Tax-Exempt Entity ¥ Debts are primarily consumer {J Debts are primarily
(Check box, if applicable) debts, defined in 11 U.S.C. business debts.
. _. § LOE(8) as “incurred dy an
() :$+Debtor is a tax-exempt organization individual primarily for a
under Title 26 of the United States personal, family, or house-
Code (the Internal Revenue Code.) hold purpose.” >

Filing Fee (Check one box} Chapter 11 Debtors

Check one box:

(2 Debtor is a small business debior as defined in 11 U.S.C. § 101(51LD).
(2 Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51B).

Check if:

{} Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
insiders or affiliates) are less than $2,190,000.

Cheek all applicable boxes
(2 A plan is being filed with this petition

(Q Acceptances of the plan were solicited prepetition from one or more classes
of creditors, in accordance with 11 U.S.C. § 1126(b).

J Full Filing Fee attached

(J Filing Fee to be paid in installments (applicable to individuals only). Must attach
signed application for the court's consideration certifying that the debtor is
unable to pay fee except in installments. Rule 1006(b) See Official Form 3A,

() Filing Fee waiver requested (applicable to chapter 7 individuals only), Must
attach signed application for the court's consideration. See Official Form 3B.

Statistical/Administrative Information THIS SPACE IS FOR
() Debtor estimates that funds will be available for distribution to unsecured creditors. COURT USE ONLY
1 Debtor estimates that, after any exempt property is excluded and administrative

expenses paid, there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors
J O O QO O Q

I- 50- 180- 200- 1,000- §,001- 10,001- 25,001- — 50,00t- Over
49 99 199 999 5,000 10,000 25,000 50,000 100,000 100,600
Estimated Assets

(i) Q) wi QO O QO a C} QO

$Oto = $56,00L to $100,001 to $500,001 to $1,000,001 $10,000,001 $50,000,001 $100,500,001 $500,000,001 More than
$50,000 $160,000 $500,000 = $1 to $10 to $50 to $100 to $500 to $1 billion $1 billion

million million million million million

Estimated Liabilities
C] LJ) QO ul} J QO) 0 a O O
$0 to $50,001 to $100,001 t9 $500,001 to $1,000,001 $10,000,001 $50,006,001 $10,000,001 5.44 nna gq3 More than
$50,000 $100,000 500.000 $1 to $10 to $50 te $100 to $500 rage nh:

million million million million ~—_niflion to $1 billion $1 billion

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B 1 (Official Form 1) (4/08) FORM BI, Page 2
Voluntary Petition Name of Debtor(s):
(This page must be completed and filed in every case) Seth Muraskin
All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Case Number: Date Filed:
Where Filed: NONE
Location Case Number: Date Filed:
Where Filed:
Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor: Case Number: Date Filed:
NONE
District: Relationship: Judge:
Exhibit A Exhibit B
(To be completed if debtor is required to file periodic reports (e.g., forms [0K and (To be completed if debtor is an individual
10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d} whose debts are primarily consumer debts)
of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.} I, the attorney for the petitioner named in the foregoing petition, declare that I

have informed the petitioner that [he or she] may proceed under chapter 7, 11,
12, or 13 of title L1, United States Code, and have explained the relief

available und ch sigh chapter. I further certify that I have delivered te the
debtor the pétice required by 11 U.S.C. § 342(b).

Lj) Exhibit A is attached and made a part of this petition. xX 17
Signature of Attorney for Debtor(s) Date
Marc A. Pergament MP6183
Exhibit C

Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
OO sYes, and Exhibit C is attached and made a part of this petition.

wi Neo

Exhibit D
(Te be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
O Exhibit D completed and signed by the debtor is attached and made a part of this petition.
If this is a joint petition:

Q Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

Information Regarding the Debtor - Venue
(Check any applicable box)

wt Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District.

UO There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

QO Debtor is a debtor in a foreign proceeding and has iis principal place of business or principal assets in the United States in this District. or
has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
this District, or the interests of the parties will be served in regard to the relief sought in this District.

Certification by a Debtor Who Resides as a Tenant of Residential Property
(Check all applicable boxes.)

Q Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following).

(Name of landlord that obtained judgment)

(Address of landtord)

QW Debtor claims that under applicable nonbankruptcy aw, there are circumstances under which the debtor would be permitted to cure the
entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
filing of the petition.

Debter certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362{E)).

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B 1 (Official Form 1) (1/08) FORM BI1, Page 3
Voluntary Petition Name of Debtor(s):
(This page must be completed and filed in every case) Seth Muraskin
Signatures
Siguature(s) of Debtor(s) (Individual/Joint) Signature of a Foreign Representative

¥ declare under penalty of perjury that the information provided in this petition is tru} T declare under penalty of perjury that the information provided in this petition is true
and correct, and correct, that [am the foreign representative of a debtor in a foreign proceeding,
[If petitioner is an individual whose debts are primarily consumer debts and has and that I am authorized to file this petition.

chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, understand the relief available under each such | (Check only one box.)
chapter, and choose to proceed under chapter 7.

[Ef no attorney represents me and no bankruptcy petition preparer signs the petition} I
have obtained and read the notice required by 11 U.S.C. § 342(b).

(3 Erequest refief in accordance with chapter 15 of Title 11, United States Code.
Certified Copies of the documents required by § 1515 of title 1 are attached.

() Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the

I request relief in accordance with the chapter of title 11, United States Code, specified Chapter of title 1] specified in the petition. A certified copy of the
in this petition order granting recognition of the foreign main proceeding is attached.
x j ™ X Not Applicable
Signdy rot Debtor Seth Muraskin (Signature of Foreign Representative)

X Not Applicable
Signature of Joint Debtor (Printed Name of Foreign Representative}

Telephone Number (If not represented by attorney)

Date
Dat, ~~
Signature of Attorney Signature of Non-Attorney Petition Preparer
x ene . .
; y, I declare under penalty of perjury that: (f) lam a bankruptcy petition preparer as defined
Signature of Attorney for Debtor(s) in 11 U.S.C. § 110; (2) 1 prepared this document for compensation and have provided
the debtor with a copy of this document and the notices and information required under
Marc A. Pergament Bar No. MP6183 11 U.S.C. 8§ 110(b), 110(h), and 342(b); and, (3) if rales or guidelines have been
Printed Name of Attorney for Debtor(s) / Bar No. promulgated pursuant to 11 U.S.C. § 10h) setting a maximum fee for services
chargeable by bankruptcy petition preparers, | have given the debtor notice of the
Weinberg, Gross & Pergament LLP maximum amount before preparing any document for filing for a debtor or accepting any
; fee from the debtor, as required in that section. Official Form 19 is attached,
Firm Name
400 Garden City Plaza Garden City, New York 11530
Address Not Applicable

Printed Name and title, if any, of Bankruptcy Petition Preparer

516-877-2424 516-877-2460
Telephone Number

Social-Security number (If the bankruptcy petition preparer is not an individual,
state the Social-Security number of the officer, principal, responsible person or
partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)

Date

*in a case in which § 707(b)(4)(D) applies, this signature also constitutes a Address
certification that the attorney has no knowledge after an inquiry that the
information in the schedules is incorrect.

Signature of Debtor (Corporation/Partnership) X Not Applicable

I declare under penalty of perjury that the information provided in this petition fs true
and correct, and that I have been authorized to file this petition on behalf of the Date
debtor.

Signature of bankruptcy petition preparer or officer, principal, responsible person, or
The debtor requests the zelief in accordance with the chapter of title 11, United States partner whose Social Security number is provided above,

Code, specified in this petition. Names and Social-Security numbers of all other individuals who prepared or

. assisted in preparing this document unless the bankruptcy petition preparer is not an
x Not Applicable individual.

Signature of Authorized Individual

If more than one person prepared this document, attach to the appropriate official
form for each person.

Printed Name of Authorized Individual A bankruptcy petition preparer's failure to comply with the provisions of title 1] and

the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
both, 17 U.S.C. § 110; £8 U.S.C. § 156.

Title of Authorized Individual

Date

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Official Form 1, Exhibit D (10/06)

UNITED STATES BANKRUPTCY COURT

Eastern District of New York

Inre: Seth Muraskin Case No.

Debtor (if known)

EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
CREDIT COUNSELING REQUIREMENT

Warning: You must be able to check truthfully one of the five statements regarding credit counseling
listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any
case you do file. if that happens, you will lose whatever filing fee you paid, and your creditors will be able to
resume collection activities against you. If your case is dismissed and you file another bankruptcy case later,
you may be required to pay a second filing fee and you may have to take extra steps to stop creditors’
collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file
a separate Exhibit D. Check one of the five statements befow and attach any documents as directed.

Wf 1. Within the 180 days before the filing of my bankruptcy case, | received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, and | have a certificate from
the agency describing the services provided to me. Altach a copy of the certificate and a copy of any debt repayment
plan developed through the agency.

CJ 2. Within the 180 days before the filing of my bankruptcy case, | received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, but | do not have a certificate

. from the agency describing the services provided to me. You must file a copy of a certificate from the agency
describing the services provided to you and a copy of any debt repayment pian developed through the agency no
later than 15 days after your bankruptcy case is filed.

() 3.! certify that | requested credit counseling services from an approved agency but was unable to
obtain the services during the five days from the time | made my request, and the following exigent circumstances
merit a temporary waiver of the credit counseling requirement so | can file my bankruptcy case now. /Must be
accompanied by a motion for determination by the court.] [Summarize exigent circumstances here.]

If the court is satisfied with the reasons stated in your motion, it will send you an order approving
your request. You must still obtain the credit counseling briefing within the first 30 days after you file your
bankruptcy case and promptly file a certificate from the agency that provided the briefing, together with a
copy of any debt management plan developed through the agency. Any extension of the 30-day deadline can
be granted only for cause and is limited to a maximum of 15 days. A motion for extension must be filed
within the 30-day period. Failure to fulfill these requirements may result in dismissal of your case. If the court
is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit counseling
briefing, your case may be dismissed.

f] 4.1 am not required to receive a credit counseling briefing because of: [Check the applicable
statement] [Must be accompanied by a motion for determination by the court]

() Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental
deficiency so as to be incapable of realizing and making rational decisions with respect to financial
responsibilities.);

4 Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
through the internet.};

i] Active military duty in a military combat zone.
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Official Form 1, Exh. D (40/06) — Cont.

L} 5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. ' 109(h) does not apply in this district.

l certify under penalty re the information provided above is true and correct.

Signature of Debter:

Seth murah

Date: sl 200%

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PT

Certificate Number: 01401-NYE-CC-004034881

CERTIFICATE OF COUNSELING

I CERTIFY that on May 19, 2008 ,at 2:55 o’clock PM EDT ,
Seth Muraskin received from

GreenPath, Inc. ;
an agency approved pursuant to 11 U.S.C. § 111 to provide credit counseling in the

Eastern District of New York , an individual [or group] briefing that complied

with the provisions of 11 U.S.C. §§ 109(h) and 111.

A debt repayment plan was not prepared . Ifa debt repayment plan was prepared, a copy of

the debt repayment plan is attached to this certificate.

This counseling session was conducted by telephone

Date: May 19, 2008 By /s/Holli Bratt for Anne Filary

Name Anne Filary

Title Counselor

* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).

Case o-Uo-/424/-ate DOC 41 Filed Vo/VO/iVo Entered YolVO/Vo UIUI'UG

B6A (Official Form 6A) (12/07)

Inre: Seth Muraskin Case No,
(If known)
Debtor
5 CURRENT VALVE
Se | Senet
DESCRIPTION AND ae PROPERTY, WITHOUT AMOUNT OF
LOCATION OF NATURE OF DEBTOR'S i 5 DEDUCTING ANY
PROPERTY INTEREST IN PROPERTY z= SECURED CLAIM SECURED

oo OR EXEMPTION
z Go
a5
>
I

2 William Street Fee Owner J $ 750,000.00 $ 850,000.00

Setauket, NY

Total > $ 750,000.00

(Report also on Summary of Schedules.)
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B65 (Official Form 6B) (12/07)

Inre Seth Muraskin Case No.
Debtor (If known)

SCHEDULE B - PERSONAL PROPERTY

CURRENT VALUE OF
DEBTOR'S INTEREST
IN PROPERTY, WITH-
OUT DEDUCTING ANY
SECURED CLAIM
OR EXEMPTION

DESCRIPTION AND LOCATION
OF PROPERTY

NONE

TYPE OF PROPERTY

HUSBAND, WIFE, JOINT
OR COMMUNITY

4, Cash on hand xX

9, Checking, savings or other financiat x
accounts, certificates of deposit, or
shares in banks, savings and loan, thrift,
building and loan, and homestead
associations, or credit unions, brokerage
houses, or cooperatives.

ow

. Security deposits with public utilities, x
telephone companies, fandicrds, and
others.

4, Househcld goods and furnishings, Miscellaneous household goods and furnishings 2,000.00
including audio, video, and computer
equipment.

on

. Books, pictures and other art objects, Books, Pictures 250.00
antiques, stamp, coin, record, tape,
compact disc, and other collections or
collectibles.

6. Wearing apparel. Wearing Apparel 1,500.00

7. Furs and jewelry. Jewelry 250.00

8, Firearms and sports, photographic, and x
other hobby equipment.

9. Interests in insurance policies. Name x
insurance company of each policy and
itemize surrender or refund value of
each.

410, Annuities. Itemize and name each x
issuer.

4

=

. Interests in an education IRA as defined x
in 26 U.S.C. § 530(b}(1) or under a
qualified State tuition plan as defined in
26 U.S.C. § 529(b}(1). Give particulars.
(File separately the record(s) of any such
interest(s}. 11 U.8.C. § 521{c}.)

12. Interests in IRA, ERISA, Keogh, or other x
pension or profit sharing plans. Give
particulars.

1

wo

. Stock and interests in incorporated and Seth Muraskin PC 0.00
unincorporated businesses. ltemize.

14, Interests in partnerships or joint ventures. x
lternize.

45, Government and corporate bonds and xX
other negotiable and nonnegotiable
instruments.

+6, Accounts receivable. xX

47, Alimony, maintenance, support, and x
property settlements to which the debtor
is or may be entitled. Give particulars.

1

oO

. Other liquidated debts owed to debtor x
including tax refunds. Give particulars.

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B68 (Official Form 6B) (12/07) -- Cont.

inre Seth Muraskin Case No.
Debtor (If known}

SCHEDULE B - PERSONAL PROPERTY

(Continuation Sheet)

z CURRENT VALUE OF
Se DEBTOR'S INTEREST
wiz IN PROPERTY, WITH-
wl DESCRIPTION AND LOCATION == OUT DEDUCTING ANY
TYPE OF PROPERTY 9 OF PROPERTY as SECURED CLAIM
Ze OR EXEMPTION
Bo
“a
2
i
19, Equitable or future interests, life estates, X
and rights or powers exercisable for the
benefit of the debtor other than those
listed in Schedule A - Real Property.
20. Contingent and noncontingent interests x
in estate of a decedent, death benefit
plan, life insurance policy, or trust.
21, Other contingent and unliquidated claims x

of every nature, including tax refunds,
counterclaims of the debtor, and rights ta
setoff claims. Give estimated value of
each.

22, Patents, copyrights, and other intellectual x
property. Give particulars.

23, Licenses, franchises, and other general x
intangibles. Give particulars.
24,Customer lists or other compilations x

containing personally identifiable
information (as defined in 17 U.S.C. §
104(41A)) provided to the debtor by
individuals in connection with obtaining a
product or service from the debtor primarily
for personal, family, or household

purposes.
25, Automobiles, trucks, trailers, and other x
vehicles and accesscries.
26, Boats, motors, and accessories. x
97, Alrctaft and accessories, x
28, Office equipment, furnishings, and Miscellaneous office equipment 300.00
supplies.
29, Machinery, fixtures, equipment and x
supplies used in business.
30, Inventory. x
31, Animals. x
32. Crops - growing or harvested. Give x
particulars.
33, Farming equipment and implements. x
34, Farm supplies, chemicals, and feed. x
35, Other personal property of any kind not x

already listed. Itemize.

1 continuation sheets attached Total = * $ 4,300.00

(Include amounts from any continuation sheets
attached. Report total also on Summary of
Schedules.)
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B6C (Official Form 8C) (12/07)

Inreé Seth Muraskin

Case No.

Debtor

(if known)

SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:

(Check one box)
£411 U.S.C. § 522¢b)(2)
{11 U.S.C. § 522(b}(3)

LJ Check if debtor claims a homestead exemption that exceeds

$136,875

SPECIFY LAW VALUE OF CURRENT
CLAIMED VALUE OF PROPERTY

DESCRIPTION OF PROPERTY ERO NEM TION EXEMPTION WITHOUT DEDUGTING
2 William Street CPLR § 5206(a) 50,000.00 750,000.00
Setauket, NY
Books, Pictures CPLR § 5205(a)(2) 50.00 250.00
Jewelry CPLR 5205 (a}(6) 250.00 250.00
Miscellaneous household CPLR § 5205(a)(5) 2,000.00 2,000.00
goods and furnishings
Wearing Apparel CPLR 5206 500.00 1,500.00

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B6D (Official Form 6D) (12/07)

Inre Seth Muraskin

Debtor

SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

Case No.

(if Known)

oO Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
CREDITOR'S NAME AND & DATE CLAIM WAS AMOUNT OF
MAILING ADDRESS « (SE INCURRED, NATURE 5} @) _ | cLaimwitHouT | UNSECURED
INCLUDING ZIP CODE AND 2 |es OF LIEN, AND w | <| @! DEDUCTING | PORTION, IF
AN ACCOUNT NUMBER i |2 DESCRIPTION AND Z| 3| @| VALUE OF ANY
(See Instructions, Above.) Q oy VALUE OF PROPERTY 5) 2 #1 COLLATERAL
as SUBJECT TO LIEN o7 5
z
ACCOUNT NO. 88,775.12 100,000.00
JP Morgan Chase Bank, N.A. Judgment Lien
c/o Cullen & Dykman eee ar
Garden City Center, 4th Floor *
100 Quentin Roosevelt Boulevard VALUE $750,000.00
Garden City, NY 711530
Suffolk County Sheriff
360 Yaphank Avenue, Suite 1A
Yaphank, NY 11980
ACCOUNT NO. 276.00, 05.00, 002.000 | x | 04/26/2007 850,000.00} 100,000.00
Saxon Mortgage Services First Lien on Residence
4708 Mercantile Drive N. Seana street
Fort Worth, TX 76137-3605 StaUker,
VALUE $750,000.00
Fein, Such & Crane, LLP
747 Chestnut Ridge Road
Suite 200
Chestnut Ridge, NY 10977-6218
9 continuation sheets
attached
Subtotal >
(Total of this page) $  938,775.126 200,000.00
Total > $ 938,775.12/$ 200,000.00
(Use only on last page)

(Report also on Summary of (If applicable, report

Schedules)

also on Statistical
Summary of Certain
Liabilities and
Related Data.)

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B6E (Official Form 6E) (12/07)

In re Seth Muraskin Case No.

Debtor : (if known)

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

Gd Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)
({) Domestic Support Obligations

Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned fo the extent provided in
14 U.S.C. § 507(a}(1).

LJ Extensions of credit in an involuntary case

Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
LJ Wages, salaries, and commissions

Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

LJ Contributions to employee benefit plans

Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
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C) Certain farmers and fishermen
Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
LC} Deposits by individuals

Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a}(7).

QO) Taxes and Certain Other Debts Owed to Governmental Units

Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8)}.

OQ Commitments to Maintain the Capital of an Insured Depository Institution

Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9}.

[L) Claims for Death or Personal Injury While Debtor Was Intoxicated

Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
drug, or another substance. 11 U.8.C. § 507(a)(10).

* Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

2 continuation sheets attached
Case 0-Uo-/424/-ateé DOCcCLl Filed Vo/QO/Qo Entered Va/Q0/06 OS!09'706

BGE (Official Form 6E) (12/07) - Cont.

Inre Seth Muraskin Case No.
Debtor

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

(Continuation Sheet)

(If Known}

bE
z
CREDITOR'S NAME, o> DATE CLAIM WAS _|o AMOUNT AMOUNT AMOUNT
MAILING ADDRESS 5 we INCURRED AND a Ee a OF CLAIM ENTITLED TO NOT
INCLUDING ZIP CODE, fa se CONSIDERATION g 8 5 PRIORITY ENTITLED TO
AND ACCOUNT NUMBER a 98 FOR CLAIM E/5|a PRIORITY, iF
(See instructions above.) Oo} ae 8 z a ANY
ACCOUNT NO.
Sheet no. 2 of 2 continuation sheets attached to Schedule of (Totals of theeaoe)
Creditors Holding Priority Claims
Total >
(Use only on last page of the completed
Schedule E. Report also on the Summary of
Schedulas.)
Total >
{Use only on fast page of the completed
Schedule E. If applicable, report also on the
Statistical Summary of Certain Liabilities and
Related Data. }

Case 0-Uo-/424/-ateé DOCcCLl Filed Vo/QO/Qo Entered Va/Q0/06 OS!09'706

B6F (Official Form 6F) (12/07)

Inre Seth Muraskin Case No.
Debtor (lf known}

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

QO Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
Zz
CREDITOR'S NAME, Sp DATE CLAIM WAS _lo AMOUNT OF
MAILING ADDRESS Bs INCURRED AND aietla CLAIM
INCLUDING ZIP CODE, @|Z= CONSIDERATION FOR Slals
AND ACCOUNT NUMBER B\68 CLAIM. 5ia| &
(See instructions above.) O) 34 IF CLAIM IS SUBJECT TO 8912/9
ge SETOFF, SO STATE °

ACCOUNTNO. 3744248734300 10,125.29

American Express Credit Card
P.O. Box 2855
New York, NY 10116-2855

ACCOUNT NO. 5490990703014751 | | 32,674.08

Bank of America Credit Card
P.O. Box 15726
Wilmington, DE 19886-5726

ACCOUNT NO. 68271021860499 | 91,000.00

Bank of America Credit Card
P.O, Box 26078
Greensboro, NC 27420

Bank of America
P.d. Box 2278
Norfolk, VA 23501-2278

ACCOUNT NO, 60271033731299 | | 4,500.00

Bank of America Credit Card - Business Debt
P.O. Box 26078
Greensboro, NC

2 Continuation sheets attached

Subtotal » § 138,299.37

Total *
(Use only on last page of the completed Schedule F.}

(Report also on Summary of Schedules and, if applicable on the Statistical
Summary of Certain Liabilities and Related Data.)
Case 0-Uo-/424/-ateé DOCcCLl Filed Vo/QO/Qo Entered Va/Q0/06 OS!09'706

B6F (Official Form 6F} (12/07) - Cont.

In re Seth Muraskin

Case No.

Debtor

SCHEDULE F - CREDITORS HOLDING UNSECURED

(Continuation Sheet}

(if known)

CLAIMS

CREDITOR'S NAME,
MAILING ADDRESS
INCLUDING ZIP CODE,
AND ACCOUNT NUMBER
(See instructions above.)

CODEBTOR

HUSBAND, WIFE, JOINT
OR COMMUNITY

DATE CLAIM WAS
INCURRED AND
CONSIDERATION FOR
CLAIM.
iF CLAIM IS SUBJECT TO
SETOFF, SO STATE

CONTINGENT
UNLIQUIDATED

DISPUTED

AMOUNT OF
CLAIM

ACCOUNT NO.

4264290794471441

Bank of America
P.O. Box 15726
Wilmington, DE 19886-5726

Bank of America
P.O. Box 2278
Norfolk, VA 23501-2278

Credit Card - Business Debt

8,934.56

ACCOUNT NO.

4862362509236058

CapitalOne
P.O. Box 70884
Charlotte, NC 28272-0884

Credit Card

1,565.57

ACCOUNT NO.

41150725281 16334

CapitalOne
P.O, Box 70884
Charlotte, NC 28272-0884

Credit Card

556.81

ACCOUNT NO.

55430667 10023080

Lx |

Chase Bank
P.O, Box 15153
Wilmington, DE 19886-5153

Credit Card
02/02

9,780.70

Sheet no. 1 of 2 continuation sheets attached to Schedule of Creditors

Holding Unsecured
Nonpriority Claims

Subtotal *

Total »

(Use only on last page of the comploted Schedule F.)
(Report also on Summary of Schedules and, if applicable on the Statistical
Summary of Gertain Liabilities and Related Data.)

20,837.64

Case 0-Uo-/424/-ateé DOCcCLl Filed Vo/QO/Qo Entered Va/Q0/06 OS!09'706

B6F (Official Form 6F) (12/07) - Cont.

Inre Seth Muraskin Case No.
Debtor (lf known)
SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
(Continuation Sheet)
_
CREDITOR'S NAME, 5» DATE CLAIM WAS lo AMOUNT OF
MAILING ADDRESS & wz INCURRED AND ZlHia CLAIM
INCLUDING ZiP CODE, a| Se CONSIDERATION FOR e/a 5
AND ACCOUNT NUMBER 3 g8 CLAIM. E aa
(See instructions above.) Oo) 34 IF CLAIM IS SUBJECT TO 8 Zi 0
ge SETOFF, SO STATE °
ACCOUNT NO. 11255340 6,685.66
Citibank Credit Line - Business Debt
c/o Forster & Garbus 02/01
P.O. Box 9030
Farmingdale, NY 11735-9030
Rubin & Rothman, LLC
1787 Veterans Highway, Suite 32
P.O. Box 9003
Islandia, NY 11749
ACCOUNT. STO | | 26,922.44
Commerce Bank Credit line - Business Debt
c/o Peter Seidman, Esq.
20 Vanderdenter Avenue, Suite 103W
Port Washington, NY 11050
Scott E. Aguinick, Esq.
1 Barstow Road
Suite P20
Great Neck, NY 11021
ACCOUNT NO. | | | osot992 26,000.00
Sallie Mae Student Loan
P.O. Box 9500
Wilkes-Barre, PA 18773-9500
ACCOUNT NO. 4002018849/45874.001 | | 2,620.14
West Publishing Corp. d/b/a Thomson West Business Debt
clo Moss & Barnett
4800 Wells Fargo Center
90 South Seventh Street
Minnepolis, MN 55402-4129
Sheet no. 2 of 2 continuation sheets attached to Schedule of Creditors Subtotal > 5 62,228.24
Holding Unsecured ,
Nonpriority Claims
221,365.25)

Total *
{Use only on last page of the completed Schedule F.)

(Report also on Summary of Schedules and, if applicable on the Statistical
Surmmmary of Certain Liabifities and Related Data.)

Case 0-Uo-/424/-ateé DOCcCLl Filed Vo/QO/Qo Entered Va/Q0/06 OS!09'706

B6G (Official! Form 6G) {12/07}

ine: Seth Muraskin

Case No.

Debtor

(if known)
v 7 F

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

(C) Check this box if debtor has no executory contracts or unexpired leases.

NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,
OF OTHER PARTIES TO LEASE OR CONTRACT.

DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
DEBTOR'S INTEREST, STATE WHETHER LEASE IS FOR
NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
NUMBER OF ANY GOVERNMENT CONTRACT.

1772 Jericho Associates
1776 East Jericho Tpke, Suite 1
Huntington, NY 11743

Landlord

Case 0-Uo-/424/-ateé DOCcCLl Filed Vo/QO/Qo Entered Va/Q0/06 OS!09'706

B6H (Official Form 6H) (12/07)

Inre: Seth Muraskin Case No.
Habtar (if known)
VERLOr °
(J Check this box if debtor has no codebtors.
NAME AND ADDRESS OF CODEBTOR NAME AND ADDRESS OF CREDITOR

Stacy Stein Chase Bank

1772 E. Jericho Tpke, Suite 2 P.O. Box 15153

Huntington, NY 11743-5713 Wilmington, DE 19886-5153

Stacy Muraskin Saxon Mortgage Services

2 Willism Street 4708 Mercantile Drive N.

Setauket, NY 11733 Fort Worth, TX 76137-3605

Case 0-Uo-/424/-ateé DOCcCLl Filed Vo/QO/Qo Entered Va/Q0/06 OS!09'706

B6l (Official Form 61) (12/07)
Inre Seth Muraskin Case No.

Debtor (lf known)

SCHEDULE | - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)

The column fabeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.

Debtor's Marital DEPENDENTS OF DEBTOR AND SPOUSE
Status: Married
RELATIONSHIP{S}: AGE(S):
Daughter 9
Spouse 39
Employment: DEBTOR SPOUSE
Occupation Attorney
Name of Employer Self employed
How long employed 13 years
Address of Employer 1772 E. Jericho Tpke.
Huntington, NY 11743

INCOME: (Estimate of average or projected monthly income at time

case filed) DEBTOR SPOUSE

1. Monthly gross wages, salary, and commissions $ 22,500.00 §$

(Prorate if not paid monthly.)
2. Estimate monthly overtime $ 0.00 $
3. SUBTOTAL $ 22,500.00 §$
4, LESS PAYROLL DEDUCTIONS

a. Payroll taxes and social security $ 0.00 ¢

b. Insurance $ 0.00 $

c. Union dues $ 0.00 ¢§

d. Other (Specify) $ 0.00 $
5. SUBTOTAL OF PAYROLL DEDUCTIONS $ 0.00 $
6. TOTAL NET MONTHLY TAKE HOME PAY $ 22,500.00 ¢
7. Regular income from operation of business or profession or farm

(Attach detailed statement) $ 0.00 $
8. Income from real property $ 0.00 $
9. Interest and dividends $ 0.00 ¢
10. Alimony, maintenance or support payments payable to the debtor for the

debtor's use or that of dependents listed above. $ 0.00 ¢§
11, Social security or other government assistance
(Specify) $ 0.00 §$
12. Pension or retirement income $ 0.00 >
13. Other monthly income
(Specify) $ 0.00 $
14. SUBTOTAL OF LINES 7 THROUGH 13 $ 0.00 $
15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14) $ 22,500.00 $
16. COMBINED AVERAGE MONTHLY INCOME: (Combine column $ 22,500.00
totals from line 15)

(Report also on Summary of Schedules and, if applicable, on

Statistical Summary of Certain Liabilities and Related Data)
17, Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document.:
Case 0-Uo-/424/-ateé DOCcCLl Filed Vo/QO/Qo Entered Va/Q0/06 OS!09'706

B6l (Official Form 61) (42/07) - Cont.
Inre Seth Muraskin Case No.

Debtor (If known}

SCHEDULE 1 - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)

NONE

Case 0-Uo-/424/-ateé DOCcCLl Filed Vo/QO/Qo Entered Va/Q0/06 OS!09'706

BéJ (Official Form 6J} (12/07)

In ré Seth Muraskin

Debtor

Case No.

(if known)

SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)

Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case filed.
Prorate any payments made biweekly, quarterly, semi-annually, or annually fo show monthly rate. The average monthly expenses calculated on

this form may differ from the deductions from income allowed on Form22A or 220.

OJ Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of

expenditures labeled "Spouse."

1. Rent or home morigage payment {include lof rented for mobile home} $ 8,466.67
a. Are real estate taxes included? Yes v No
b. Is property insurance included? Yes ¥ No
2, Utilities: a. Electricity and heating fuel $ 400.00
b. Water and sewer $ 50.00
c. Telephone $ 175.00
d, Other Cable/Satelite $ 65.00
3. Home maintenance (repairs and upkeep) $ 400.00
4, Food $ 1,000.00
5. Clothing $ 400.00
6. Laundry and dry cleaning $ 150.00
7. Medical and dental expenses $ 50.00
8. Transportation (not including car payments) $ 750.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc. $ 100.00
10. Charitable contributions $ 300.00
11. Insurance (not deducted from wages or included in home mortgage payments)
a. Homeowner's or renter's $ 4,065.00
b. Life $ 175.00
c. Health $ 0.00
d. Auto $ 600.00
e. Other § 0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
(Specify) $ 0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
a. Auto $ 1,400.00
b. Other $ 6.00
14, Alimony, maintenance, and support paid to others $ 0.00
15. Payments for support of additional dependents not living at your home $ 0.00
16, Regular expenses from operation of business, profession, or farm (attach detailed statement) $ 7,723.00
17. OtherIncome Taxes $ 6,000.00
18. AVERAGE MONTHLY EXPENSES (Total fines 1-17. Report also on Summary of Schedules and, § 29 269.67

if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)

19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:
Reduction to approximately $3,000.00 upon the foreclosure of the Debtor's residence.

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule |
b. Average monthly expenses from Line 18 above
c. Monthly net income {a. minus b.)

A oF

22,500.00
29,269.67
-6,769.67

Case 0-Uo-/424/-ateé DOCcCLl Filed Vo/QO/Qo Entered Va/Q0/06 OS!09'706

In re: Seth Muraskin

Debtor
Business Expenses
Rent $1,890.00
Cleaning $75.00
LIPA $200.00
Telephone $335.00
Cell Phone $399.00
Automobiles $1,217.00
Automobile Insurance $572.00
Home Insurance $560.00
Copy Machine $292.00
Credit Card $1,150.00
Legal $500.00
Accountant $83.00
Life Insurance $150.00

Miscellaneous $300.00
Case 0-Uo-/424/-ateé DOCcCLl Filed Vo/QO/Qo Entered Va/Q0/06 OS!09'706

B6 Summary (Official Form 6 - Summary) (12/07)
United States Bankruptcy Court
Eastern District of New York

Inre Seth Muraskin Case No.
Debtor
Chapter 7
SUMMARY OF SCHEDULES

Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, |,
and J in the boxes provided. Add the amounts frorn Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all claims
from Schedules D, E, and F to determine the total amount of the debtor's liabilities. Individuat debtors also must complete the “Statistical Summary of
Certain Liabilities and Related Data’ if they file a case under chapter 7, 11, or 13.

NAME OF SCHEDULE ATTACHED | NO. OF SHEETS ASSETS LIABILITIES OTHER
(YES/NO)
A - Real Property YES 1 |$ 750,000.00 |.

B - Personal Property YES 2 4,300.00

C -Property Claimed
as Exempt YES 1 2

D -Creditors Holding YES 1 938.775.12

Secured Claims

E - Creditors Holding Unsecured
Priority Claims YES 3
(Total of Claims on Schedule &)

0.00

F - Creditors Holding Unsecured YES 3
Nonpriority Claims

221,365.25

G -Executory Contracts and YES 4
Unexpired Leases

H - Codebtors YES 1

$ 22,500.00

l- Current Income of
Individual Debtor(s) YES 2
J - Current Expenditures of YES 2 ic
Individual Debtor(s) ae 2 $ 29,269.67

eatin
toa ms

TOTAL 17 $ 754,300.00 | $ 1,160,140.37

Case 0-Uo-/424/-ateé DOCcCLl Filed Vo/QO/Qo Entered Va/Q0/06 OS!09'706

Form 6 - Statistica] Summary (412/07)

United States Bankruptcy Court
Eastern District of New York

Inre Seth Muraskin Case No,

Debtor , Chapter 7

STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

if you are an individual debtor whose debts are primarily consumer debts, as defined in § 104(8) of the Bankruptcy Code GQ1Uus.c.
§ 101(8)}, filing a case under chapter 7, 11 or 13, you must report all information requested below.

EC} Check this box if you are an individual debtor whese debts are NOT primarily consumer debts. You are not required to report any
information here.

This information is for statistical purposes only under 28 U.S.C, § 189,

Summarize the following types of liabilities, as reported in the Schedules, and total them.

Type of Liability Amount

Domestic Support Obligations (from Schedule E) $ 0.00

Taxes and Certain Other Debts Owed to Governmental Units (from

Schedule E) $ 0.00

Claims for Death or Personal Injury While Debtor Was

Intoxicated (from Schedule E) (whether disputed or undisputed) $ 0.00

Student Loan Obligations (from Schedule F) $ 0.00

Domestic Support, Separation Agreement, and Divorce Decree

Obligations Net Reported on Schedule E. $ 0.00

Obligations to Pension or Profit-Shasing, and Other Similar

Obligations (from Schedule F) $ 0.00
TOTAL $ 0.00

State the following:

Average Income (from Schedule |, Line 16) $ 22,500.00

Average Expenses (from Schedule J, Line 18} $ 29,269.67

Current Monthly Income (fram Form 22A Line 12; OR, Form
22B Line 11; OR, Form 22C Line 20 ) $ 22,500.00

Case 0-Uo-/424/-ateé DOCcCLl Filed Vo/QO/Qo Entered Va/Q0/06 OS!09'706

United States Bankruptcy Court
Eastern District of New York

inre Seth Muraskin Case No.
Debtor Chapter 7

State the following:

1. Total from Schedule D, “UNSECURED PORTION, IF ANY”

column $200,000.00

2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY”
column.

3. Total from Schedule E, “AMOUNT NOT ENTITLED TO

PRIORITY, IF ANY” column $0.00
7] $221,365.25

$421,365.25

4, Total from Schedule F

5. Total of non-priority unsecured debt (sum of 1, 3, and 4)

Case 0-Uo-/424/-ateé DOCcCLl Filed Vo/QO/Qo Entered Va/Q0/06 OS!09'706

B6 Declaration (Official Form 6 - Declaration) (12/07)

inre Seth Muraskin Case No.
Debtor (if known}

DECLARATION CONCERNING DEBTOR'S SCHEDULES

DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

| declare under penalty of perjury that | have read the foregoing summary and schedules, congisting of 18
sheets, and that they are true and correct to the best of my knowledge, information, and belief. ,-7

j a=
Date: tooo x Signature:

Seth Miraskin
Debtor
{if joint case, both spouses must sign]

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP
(NOT APPLICABLE)

Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up fo 5 years or both. 18 U.S.C §§ 152 and
3571,
Case 0-Uo-/424/-ateé DOCcCLl Filed Vo/QO/Qo Entered Va/Q0/06 OS!09'706

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

woe nnne- ---- -X
In Re: Chapter 7
Seth Muraskin, Case No.
Debtor. AFFIRMATION OF
PRE-PETITION SERVICES
nomenon ~--X

Marc A. Pergament duly affirms under the penalties of perjury as follows:

1. I am an attorney admitted to practice law in the United States Court of
Appeals for the Second Circuit and the United States District Court for the Eastern and Southern
Districts of New York and submit this affirmation in compliance with Local Rule 10(f).

2. All services indicated have been performed by my firm.

3. Our charge for services rendered in bankruptcy proceedings is between
$325.00 and $395.00 for partners, counsel to our firm and senior associates, $250.00 for junior
associates and $90.00 for paralegals.

4, We performed the following pre-petition services:

a. Explanation of the purposes and effect of the filing of a Chapter 7
petition and analysis of whether the filing of such a petition is in the best interests of the debtor.
In addition, the debtor was informed of the relief available under Chapter 11 and Chapter 13.

b. Interview of debtor to obtain all necessary information for the
preparation of a Chapter 7 and schedules and statement of financial affairs.

c. Classification of debts; calculation of debts: classification of
property of the debtor and calculation of values; recalculation of total debts and property for

summary; determination of exemptions and applicable amounts.
Case 0-Uo-/424/-ateé DOCcCLl Filed Vo/QO/Qo Entered Va/Q0/06 OS!09'706

d. Drafting, preparation and review of petition, schedules and
statement of financial affairs and meetings with debtor regarding execution of documents.
e. Various conferences with Debtor to answer questions and explain
the effects of filing for bankruptcy and related issues.
5. The total time spent to date for the services stated above has been 4 hours,

which includes the following:

A. Initial Consultation Time: 1 hour
B. Review of client’s documents, etc.

and preparation of petition Time: 1 hour
Cc. Review petition with client Time: 1 hour
D. Additional work Time: 1 hour

In addition, paralegal time to prepare and assemble petition and respond to creditor’s telephone
requests was approximately 3 hours.

6. We will also represent the debtor at the first meeting of the creditors.

7. The legal fee does not include representation at a reaffirmation hearing nor
defense of adversary proceedings or stay motion.

Dated: Garden City, New York a
May 5, 2008

Marc A. Pergament
Case 0-Uo-/424/-ateé DOCcCLl Filed Vo/QO/Qo Entered Va/Q0/06 OS!09'706

B 203
(12/94)
UNITED STATES BANKRUPTCY COURT
Eastern District of New York
In re: Seth Muraskin Case No.

Chapter 7

Debtor

DISCLOSURE OF COMPENSATION OF ATTORNEY
FOR DEBTOR

4. Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), | certify that | am the attorney for the above-named debtor(s)
and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be

paid to me, for services rendered or to be rendered on behalf of the debtor(s} in contemplation of or in
connection with the bankruptcy case is as follows:

For legal services, | have agreed to accept $ 2,500.00
Prior to the filing of this statement I have received $ 0.00
Balance Due $ 2,500.00

2. The source of compensation paid to me was:

Hf Debter Other (specify)
3. The source of compensation to be paid to me is:
] = Debter Other (specify)

4. Wf ihave not agreed to share the above-disclosed compensation with any other person unless they are members and associates
of my law firm.

Ol [have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of
my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is
attached.

5. In return for the above-disclosed fee, | have agreed to render lega! service for all aspects of the bankruptcy case,
including:

a) Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file
a petition in bankruptcy;

b) Preparation and filing of any petition, schedules, statement of affairs, and plan which may be required;
c} Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
d) Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

e) [Other provisions as needed]
None
6. By agreement with the debtor(s) the above disclosed fee does not include the following services:

None

CERTIFICATION

| certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
representation of the debtor(s} in this bankruptcy proceeding. * a

Dated:

Marc A. Pergament, Bar No. MP6183

Weinberg, Gross & Pergament LLP
Attorney for Debtor(s}

Case 0-Uo-/424/-ateé DOCcCLl Filed Vo/QO/Qo Entered Va/Q0/06 OS!09'706

B7 (Official Form 7) (12/07)

In re:

None

a

None

None

UNITED STATES BANKRUPTCY COURT
Eastern District of New York

Seth Muraskin Case No,

Debtor (if known)

STATEMENT OF FINANCIAL AFFAIRS

1. Income from employment or operation of business

State the gross amount of income the debior has received from employment, trade, or profession, or from operation of the
debtor's business, including part-time activities either as an employee or in independent trade or business, from the beginning
of this calendar year to the date this case was commenced. State also the gross amounts received during the two years
immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a
fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal
year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition
is not filed.)

AMOUNT SOURCE FISCAL YEAR PERIOD
3,450.00 NYCLU 03/08
6,000.00 Law Office of Seth Muraskin 03/08
386,000.00 Law Office of Seth Muraskin 2005
465,000.00 Law Office of Seth Muraskin 2006
approx380,000.00 Law Office of Seth Muraskin 2007

2. Income other than from employment or operation of business

State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's
business during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is
filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for
each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT SOURCE FISCAL YEAR PERIOD

3. Payments to creditors

Complete a. or b., as appropriate, and c.

a. Individual or joint debtor(s) with primarily consumer debis: List all payments on loans, installment purchases of goods or
services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless
the aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk
(") any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing
under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless
the spouses are separated and a joint petition is not filed.)

DATES OF AMOUNT AMOUNT
NAME AND ADDRESS OF
CREDITOR PAYMENTS PAID STILL OWING
None

wi

None

None

Case 0-Uo-/424/-ateé DOCcCLl Filed Vo/QO/Qo Entered Va/Q0/06 OS!09'706

2

b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90
days immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is
affected by such transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that
were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a
plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13
must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR DATES OF AMOUNT AMOUNT
PAYMENTS/ PAID OR STILL
TRANSFERS VALUE OF OWING
TRANSFERS

c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the
benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by
either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is

not filed.)

NAME AND ADDRESS OF CREDITOR DATE OF AMOUNT AMOUNT
AND RELATIONSHIP TO DEBTOR PAYMENT PAID STILL OWING

4. Suits and administrative proceedings, executions, garnishments and attachments

a, List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the
filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is

not filed.)

CAPTION OF SUIT COURT OR AGENCY STATUS OR
AND CASE NUMBER NATURE OF PROCEEDING AND LOCATION DISPOSITION
American Express Centurion District Court/Suffolk County Pending
Bank v. Seth Muraskin, Esq.

1759/08
Commerce Bank, N.A. v. Law Supreme Court/Suffolk County Pending

Office of Seth Murasking, Esq.,
P.C. and Seth Muraskin
08-22327
JP Morgan Chase Bank, N.A., v. Judgment Supreme CourtiNassay County Judgment
The Law office of Seth
Murasking, Esp., P.C. Seth
Muraskin
1009/07
Citibank (South Dakota) N.A. v. District Court/Suffolk County Pending
Seth Muraskin
08-004745
Wells Fargo Bank National Foreclosure Supreme Court/Suffolk County
Association, as Trustee for Bank
of America ABFC 2005-HE2 by
Saxon Mortgage Services, Inc.
as it's Attorney-in-Fact v. Seth
Muraskin et al.
08-8781
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3

None  b. Describe alt property that has been attached, garnished or seized under any legal or equitable process within one year

Qj

None

None

None

None

inmediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are
separated and a joint petition is not filed.)

NAME AND ADDRESS DESCRIPTION

OF PERSON FOR WHOSE DATE OF AND VALUE OF
BENEFIT PROPERTY WAS SEIZED SEIZURE PROPERTY

JP Morgan Chase 03/04/2008 1,700 bank account

5. Repossessions, foreclosures and returns

List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of
foreclosure or returned to the seiler, within one year immediately preceding the commencement of this case. (Married
debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.}

DATE OF REPOSSESSION, DESCRIPTION

NAME AND ADDRESS FORECLOSURE SALE, AND VALUE OF
OF CREDITOR OR SELLER TRANSFER OR RETURN PROPERTY

6. Assignments and receiverships

a. Describe any assignmeni of property for the benefit of creditors mace within 120 days immediately preceding the
commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or
both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not

filed.)

TERMS OF
NAME AND ADDRESS DATE OF ASSIGNMENT
OF ASSIGNEE ASSIGNMENT OR SETTLEMENT

b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS DESCRIPTION
NAME AND ADDRESS OF COURT DATE OF AND VALUE OF
OF CUSTODIAN CASE TITLE & NUMBER ORDER PROPERTY

7. Gifts

List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except
ordinary and usual gifts to family members aggregating less than $200 in value per individual family member and charitable
contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include
gifts or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
joint petition is not filed.}

NAME AND ADDRESS RELATIONSHIP DESCRIPTION
OF PERSON TO DEBTOR, DATE AND VALUE OF
OR ORGANIZATION IF ANY OF GIFT GIFT
None

None

None

None

None

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8. Losses

List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
joint petition is not filed.)

DESCRIPTION DESCRIPTION OF CIRCUMSTANCES AND, IF
AND VALUE OF LOSS WAS COVERED IN WHOLE OR IN PART DATE OF
PROPERTY BY INSURANCE, GIVE PARTICULARS LOSS

9. Payments related to debt counseling or bankruptcy

List all payments made or property transferred by or on behalf of the debtor to any persons, including attomeys, for
consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within
one year immediately preceding the commencement cf this case.

NAME AND ADDRESS DATE OF PAYMENT, AMOUNT OF MONEY OR

OF PAYEE NAME OF PAYOR IF DESCRIPTION AND VALUE
OTHER THAN DEBTOR OF PROPERTY

Weinberg, Gross & Pergament LLP 10/23/07 - 04/17/08 2,148.75

400 Garden City Plaza, Suite 403
Garden City, NY 11530

10. Other transfers

a. List ali other property, other than property transferred in the ordinary course of the business or financial affairs of the
debtor, transferred either absolutely or as security within two years immediately preceding the commencement of this case.
(Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or net a joint
petition is filed, unless the spouses are separated and a joint petition is not filed.)

DESCRIBE PROPERTY
NAME AND ADDRESS OF TRANSFEREE, TRANSFERRED
RELATIONSHIP TO DEBTOR DATE AND VALUE RECEIVED

b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a
self-settled trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER DATE(S) OF AMOUNT OF MONEY OR DESCRIPTION
DEVICE TRANSFER(S} AND VALUE OF PROPERTY OR DEBTOR'
INTEREST IN PROPERTY

11. Closed financial accounts

List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed,
soid, or otherwise transferred within one year immediately preceding the commencement of this case. Include checking,
savings, or other financial accounis, certificates of deposit, or other instruments; shares and share accounts held in banks,
credit unions, pension funds, cooperatives, associations, brokerage houses and other financial institutions, (Married debtors
filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

TYPE OF ACCOUNT, LAST FOUR AMOUNT AND
NAME AND ADDRESS DIGITS OF ACCOUNT NUMBER, DATE OF SALE
OF INSTITUTION AND AMOUNT OF FINAL BALANCE OR CLOSING
None

None

None

None

None

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12. Safe deposit boxes

List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within
one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are
separated and a joint petition is not filed.)

NAME AND ADDRESS NAMES AND ADDRESSES DESCRIPTION DATE OF TRANSFER
OF BANK OR OF THOSE WITH ACCESS OF OR SURRENDER,
OTHER DEPOSITORY TO BOX OR DEPOSITORY CONTENTS iF ANY

13. Setoffs

List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.)

DATE OF AMOUNT OF
NAME AND ADDRESS OF CREDITOR SETOFF SETOFF

14. Property held for another person
List all property owned by another person that the debtor holds or controls.

NAME AND ADDRESS DESCRIPTION AND VALUE
OF OWNER OF PROPERTY LOCATION OF PROPERTY

15. Prior address of debtor

If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the
debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also
any separate address of either spouse.

ADDRESS NAME USED DATES OF OCCUPANCY

16. Spouses and Former Spouses

If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years
immediately preceding the commencement of the case, identify the name of the debtor 's spouse and of any former spouse
who resides or resided with the debtor in the community property state.

NAME
None

None

None

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17. Environmental Information.

For the purpose of this question, the following definitions apply:

“Environmental Law" means any federal, state or local statute or regulation regulating pollution, contamination, releases cf
hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium,
including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

"Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
formerly owned or operated by the debtor, including, but not limited to, disposal sites.

"Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
hazardous material, pollutant, or contaminant or similar term under an Environmental Law.

a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that
it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of
the notice, and, if known, the Environmental Law.

SITE NAME AND NAME AND ADDRESS DATE OF ENVIRONMENTAL
ADDRESS OF GOVERNMENTAL UNIT NOTICE LAW
b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of

Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

SITE NAME AND NAME AND ADDRESS DATE OF ENVIRONMENTAL
ADDRESS OF GOVERNMENTAL UNIT NOTICE LAW

c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
to the proceeding, and the docket number.

NAME AND ADDRESS DOCKET NUMBER STATUS OR
OF GOVERNMENTAL UNIT DISPOSITION
None

None

None

None

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18. Nature, location and name of business

a. ifthe debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses,
and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
other activity either full- or part-time within the six years immediately preceding the commencement of this case,

or in which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
preceding the commencement of this case.

ifthe debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses,
and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
the voting or equity securities, within the six years immediately preceding the commencement of this case.

if the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the business, and
beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or
equity securities within the six years immediately preceding the commencement of this case.

LAST FOUR DIGITS
OF SOCIAL SECURITY

NAME OR OTHER INDIVIDUAL {2 PRESS NATURE OF BEGINNING AND ENDING
TAXPAYER-I.D. NO. BUSINESS DATES
(ITIN}’ COMPLETE EIN

Law Office of Seth 4264 Attorney 02/01/2001

Muraskin

b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 114

U.S.C. § 101.

NAME ADDRESS

19. Books, records and financial statements

a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
supervised the keeping of books of account and records of fhe debtor.

NAME AND ADDRESS DATES SERVICES RENDERED

Jeff Feldman, CPA 1998 - present
1776 E. Jericho Turnpike
Huntington, NY 11743

b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the
books of account and records, or prepared a financial statement of the debtor.

NAME ADDRESS DATES SERVICES RENDERED

c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account
and records of the debtor. If any of the books of account and records are not available, explain.

NAME ADDRESS

d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
financial statement was issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS DATE ISSUED
20. Inventories

a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
taking of each inventory, and the dollar amount and basis of each inventory.

DOLLAR AMOUNT OF INVENTORY

DATE OF INVENTORY INVENTORY SUPERVISOR nei cost, market or other
ass
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None _b. List the name and address of the person having possession of the records of each of the inventories reported
¥i in a., above.

NAME AND ADDRESSES OF CUSTODIAN
DATE OF INVENTORY OF INVENTORY RECORDS

21. Current Partners, Officers, Directors and Shareholders

None — a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
Yi partnership.

NAME AND ADDRESS NATURE OF INTEREST PERCENTAGE OF INTEREST

None _ b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly
¥] owns, controls, or holds 5 percent or more of the voting or equity securities of the corporation.

NATURE AND PERCENTAGE
NAME AND ADDRESS TITLE OF STOCK OWNERSHIP

22. Former partners, officers, directors and shareholders

None a. if the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
¥1 preceding the commencement of this case.

NAME ADDRESS DATE OF WITHDRAWAL

None _ b. if the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
YJ —s within one year immediately preceding the commencement of this case.

NAME AND ADDRESS TITLE DATE OF TERMINATION

23. Withdrawals from a partnership or distributions by a corporation

None _ Ifthe debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including
wi compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year
immediately preceding the commencement of this case.

NAME & ADDRESS AMOUNT OF MONEY
OF RECIPIENT, DATE AND PURPOSE OR DESCRIPTION

RELATIONSHIP TO DEBTOR OF WITHDRAWAL AND VALUE OF PROPERTY

24, Tax Consolidation Group.

None If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any
wi consolidated group for tax purposes of which the debtor has been a member at any time within six years immediately
preceding the commencement of the case.

NAME OF PARENT CORPORATION TAXPAYER IDENTIFICATION NUMBER (EIN)

25. Pension Funds.

None ‘ff the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the
Ww debtor, as an employer, has been responsible for contributing at any time within six years immediately preceding the
commencement of the case.

NAME OF PENSION FUND TAXPAYER IDENTIFICATION NUMBER (EIN)
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ek ek ke OK OF

[if completed by an individual or individual and spouse]

| declare under penalty of perjury that | have read the answers contained in the;foregoing statement
of fi a oleh an any attachments thereto and that they are true and corn ct.

Date Signature

of Debtor Seth Muraskin
Case 0-Uo-/424/-ateé DOCcCLl Filed Vo/QO/Qo Entered Va/Q0/06 OS!09'706

Farm 8
(10/05)

UNITED STATES BANKRUPTCY COURT
Eastern District of New York

Case No.
Debtor Chapter 7

Inre: Seth Muraskin

CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

| have filed a schedule of assets and liabilities which includes debts secured by property of the estate.

Q

[] =| have filed a schedule of executory contracts and unexpired leases which includes personal property subject to an unexpired lease.

Cj | intend to do the following with respect to the property of the estate which secures those debts or is subject to a lease:

Property Property will Debt will be
Description of Secured Creditor's Property willbe | is claimed persue te. reaffimed
Property Name Surendered | as exempt 11 U.S.C. § 722 11 U.S.C. § §24(¢)
1. 2 William Street JP Morgan Chase XK
Setauket, NY Bank, N.A.
2. 2 William Street Saxon Mortgage x
Setauket, NY Services
Lease will be
Description of Leased Lessor's assumed
Property Name pursuant to 11
USC. §
362(n)(1)(A)
None |

|
stool &
Seth Muraskin

Signature of Debtor Date

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Form B1, Exhibit C
(8/01)

UNITED STATES BANKRUPTCY COURT
Eastern District of New York

Exhibit "C"

[if, fo the best of the debtor's knowledge, the debtor owns or has possession of property
that poses or is alleged to pose a threat of imminent and identifiable harrn to the public health or

safety, attach this Exhibit "C" to the petition ]

In re: Seth Muraskin Case No.:
Chapter. 7

Debtor(s}

Exhibit "C" to Voluntary Petition

1. Identify and briefly describe all real or personal property owned by or in possession of
the debtor that, to the best of the debtor's knowledge, poses or is alleged to pose a threat of

imminent and identifiable harm to the public health or safety (attach additional sheets if necessary):

N/A

2. With respect to each parcel of real property or item of personal property identified in
question 1, describe the nature and location of the dangerous condition, whether environmental
or otherwise, that poses or is alleged to pose a threat of imminent and identifiable harm to the
public health or safety (attach additional sheets if necessary):

N/A

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

in Re BANKRUPTCY NO.
Seth Muraskin

Debtor.

DECLARATION RE: ELECTRONIC FILING OF
PETITION, SCHEDULES & STATEMENTS

PART | - DECLARATION OF PETITIONER

| Seth Muraskin

the undersigned debtor(s), hereby declare under penalty of perjury that the information | have given my attorney and the information
provided in the electronically filed petition, statements, schedules is true and correct. | consent to my aftorney sending my petition,
this declaration, statements and schedules to the United States Bankruptcy Court. | understand that this DECLARATION RE:
ELECTRONIC FILING is to be fited with the Clerk once all schedules have been filed electronically but, in no event, no later than 15 days
following the date the petition was electronically filed. | understand that failure to file the signed original of this DECLARATION will cause
my case to be dismissed pursuant to 11 U.S.C. § 707(a}(3) without further nofice.

wf [If petitioner is an individual whose debts are primarily consumer debts and has chosen fe file under chapter 7] | am
aware that | may proceed under chapter 7, 11, 12 or 13 of 11 United States Code, understand the relief available under each such chapter,
and choose to proceed under Chapter 7. | request relief in accordance with the chapter specified in this petition.

gO [If petitioner is a corporation or partnership] f declare under penalty of perjury that the information provided in this
petition is true and correct, and that | have been authorized to file this petition on behalf of the debtor. The debtor requests relief in
accordance with the chapter specified in this petition.

Dated: <0 K

Signed:

Setff Muraskin
(Applicant)

PART II - DECLARATION OF ATTORNEY

| declare under penalty of perjury that | have reviewed the above debtor's petition and that the information is complete and
correct to the best of my knowledge. The debtor(s) will have signed this form before | submit the petition, schedules, and statements. |
will give the debtor(s) a copy of all forms and information to be filed with the United States Bankruptcy Court, and have fotlowed all other
requirements in the most recent attachment to G.O. #162. | further declare that | have examined the above debtor's petition, schedules, and
statements and, to the best of my knowledge and belief, they are true, correct, and complete. If an individual, | further declare that ! have
informed the petitioner that [he or she} may proceed under chapter 7, 11, 12 or 13 of Title 11, United States Code, and have explained the
relief available under each such chapter. This dectaration is based cn all information of which | have knowledge.

Dated:

Marc A’ Pergament
Attorney for Debtor(s)
Case 0-Uo-/424/-ateé DOCcCLl Filed Vo/QO/Qo Entered Va/Q0/06 OS!09'706

B 201 (04/09/06)

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
OF THE BANKRUPTCY CODE

In accordance with § 342(b) of the Bankruptcy Cade, this notice: (1) Describes briefly the services available from
credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings
you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General may examine all
information you supply in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and not
easily described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should you
decide to file a petition. Court employees cannot give you legal advice.

1. Services Available from Credit Counseling Agencies

With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit
counseling and provides assistance in performing a budget analysis. The briefing must be given within 180 days before
the bankrupicy filing. The briefing may be provided individually or in a group (including briefings conducted by telephone or on
the Internet} and must be provided by a nonprofit budget and credit counseling agency approved by the United States trustee
or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the approved budget and
credit counseling agencies.

In addition, after filing a bankruptcy case, an individua! debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)

1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
should be permitted to proceed under chapter 7. !f your income is greater than the median income for your state of residence
and family size, in some cases, creditors have the right to file a motion requesting that the court dismiss your case under §
707 (b) of the Code. It is up to the court to decide whether the case should be dismissed.

2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.

3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to
have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and,
if it does, the purpose for which you filed the bankruptcy petition will be defeated.

4, Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which
are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle,
vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of
fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine thai the debt is not
discharged.

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee, $39
administrative fee: Total fee $274}

1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar
amounts set forth in the Bankruptcy Code.

2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
depending upon your income and other factors. The court must approve your plan before it can take effect.

3. After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
secured obligations.
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B 201 Page 2

Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)

Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions
are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future

earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises
primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the
local rules of the court.

Certificate of Attorney

a
| hereby certify that | delivered to the debtor this notice required 342(b) of the Bankruptcy Code.

Marc A. Pergament
Printed Name of Attorney Signature of Attorney Date

Address:

Weinberg, Gross & Pergament LLP
400 Garden City Plaza

Garden City, New York 11530

516-877-2424
Certificate of tha Debtor

|, the debtor, affirm that | have received and read this notice.
Seth Muraskin x
Printed Name of Debtor

cto I

Signature of Debtor Date

Case No. (if known)

